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                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF FLORIDA

                                               MIAM I DIVISION

                                               CASE NO.: 20-24619-CIV-ALTONAGA/TORRES



   POET THEATRICALS MARINE, LLC;
   POET PRODUCTIONS, LLC;
   POET TECHNICAL SERVICES, LLC;
   POET HOLDINGS, INC.,

          Plaintiffs,

   v.

   CELEBRITY CRUISES, INC.; ROYAL
   CARIBBEAN CRUISES, LTD.; COSTCO
   TRAVEL; CRUISES INC.; CRUISE ONE,
   INC.; CRUISE ONE, INC. d/b/a DREAM
   VACATIONS; TOURICO HOLIDAYS,
   INC. d/b/a LASTMINUTECRUISES.COM;
   WORLD TRAVEL HOLDINGS d/b/a
   CRUISES.COM; WORLD TRAVEL
   HOLDINGS d/b/a CRUISES ONLY;
   WORLD TRAVEL HOLDINGS d/b/a
   CHEAPCRUISES.COM; DIRECT LINE
   CRUISES, INC.,

          Defendants.


                                       MOTION TO REMAND

         COME NOW Plaintiffs, Poet Theatricals LLC; Poet Productions, LLC; Poet Technical

  Services, LLC; and, Poet Holdings, Inc. (collectively “Poet”), and files this motion to remand. In

  support thereof, Poet would state:

                                            Introduction

         The issue in this case is whether Poet’s state law claims of unjust enrichment and
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  conversion, which on their face pose no federal question, are preempted under the Copyright Act.

  Poet’s state law claims are not preempted because Defendants cannot satisfy the two requirements

  for the Copyright Act’s preemption defense. First, Poet raises claims that are not equivalent to the

  rights granted by Section 106 of the Copyright Act. More specifically, there are “additional

  elements” to Poet’s unjust enrichment and conversion causes of action making preemption

  inappropriate. Second, Poet seeks to enforce rights in intellectual property that are outside the

  “subject matter of copyright” as set forth in Section 102 of the Copyright Act. As such, unlike the

  majority of copyright preemption cases, Poet did not plead a cause of action for copyright

  infringement with accompanying pendent state law causes of action. Indeed, such a copyright

  claim would have likely been dismissed because many of the subjects of the Unjust Enrichment

  and Conversion claims are not “copyrightable”, in effect eliminating any remedy for the alleged

  wrongs. For each and all of the above reasons, this Court should remand this state law case back

  to state court.

                                         Procedural History

          This case arises out of a long contractual relationship between Poet and Celebrity Cruises,

  Inc. (“Celebrity”). The instant complaint was filed on September 29, 2020. Poet alleges that, after

  the expiration and extension of five multi-year license agreements for Poet to develop and produce

  live shows for Celebrity’s five Solstice-class vessels, Celebrity, Royal Caribbean Cruise, Ltd.

  (“Royal”), and the other defendants (“the media partner” defendants) unjustly enriched themselves

  by failing to pay the license fee contained in the Celebrity-Poet license agreements for promotional

  use of photographs and recordings of Poet’s shows. (See Complaint, D.E. 1-2 at ¶¶ 18-23

  (describing business relationship and relevant portions of the licenses)). Since the contracts had




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  ended, and the injury was continuing, Poet brought causes of action for unjust enrichment and

  conversion.

         The licenses define the subject matter of the license, as “project materials” that belonged

  to Poet. (D.E. 1-2, at 9 (defining “project materials” and vesting ownership in Poet)). All project

  materials were to be “delivered to [Poet] upon termination” of the licenses.1 (Id.). The contract

  also obligated Celebrity to “obtain a license” for all uses not already authorized. (Id. at 8-9).

         In Count I (Conversion), Poet alleges that Celebrity failed to return the images and

  recordings (“the project materials”) by continuing to use them after the production agreements

  expired without purchasing a new license. (Id. at 11). In the remaining Unjust Enrichment counts,

  Poet alleges it conferred a benefit to the Defendants, the Defendants knowingly accepted the

  benefit and that it would be unjust for Defendants to retain the benefit of the project materials.

  Poet seeks damages in the amount of a fair licensing fee.

                                         MEMORANDUM OF LAW

         Celebrity entered into a contract with Poet that established Poet’s rights in all project

  materials, including the hard costumes and actual sets used in performances, intellectual property,

  as well as several uncopyrightable ideas and likenesses embodied in the images and recordings.

  For those reasons, the license contracts made copyright registration unnecessary and inefficient.

  Utopia Provider Sys., Inc. v. Pro-Med Clinical Sys., L.L.C., 596 F.3d 1313, 1327 (11th Cir. 2010)

  (“Parties may enter a license agreement to avoid the cost of having to litigate the validity of a

  copyright, and this bargain between the parties should be honored”).2


         1
           Poet won a prior suit against Celebrity in a private bench trial for Celebrity’s failure to
  timely return Poet’s property and for liquidated damages.
         2
           Without registration, as to any of the “project materials” that are copyrightable, any
  infringement claim would have to be dismissed and refiled after the Copyright Office completes
  the registration process. The Supreme Court observed (before COVID-19) that “the average
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         Defendants’ removal seeks to build a “copyright strawman,” by removal of the case to

  Federal Court under putative federal question jurisdiction, only to then tear down the strawman

  they had built knowing the project material were subject to contractual licenses and not registered.

  Specifically, Defendants argue that Section 301 of the Copyright Act preempts all of Poet’s state

  law causes of action, leaving only copyright infringement. This, despite the total absence of any

  alleged copyright registration over the “project materials” much less any alleged cause of action

  for copyright infringements on the face of Poet’s complaint. Thus, Defendants claim not only

  preemption, but also complete preemption that would let them remove Poet’s claims to this Court.

         Defendants are wrong on both counts. First, Defendants are not entitled to “defensive

  preemption” because Defendants cannot meet both prongs of the Section 301 test for preemption.

  Further, this Court would lack jurisdiction even if Defendants could meet Section 301’s prongs,

  because Section 301 does not authorize removal of preempted claims. Either way, the Court should

  remand this case back to state court.

         I.      Defendants Fail the First Prong Of The Section 301 Preemption Test Because
                     Poet’s Claims All Contain “Additional Elements” Not Required For
                                             Copyright Violation.

         A state law “claim is only preempted if it is within that narrow category of exclusive rights

  guaranteed to the copyright holder.” Badhwa v. Veritec, Inc., 367 F. Supp. 3d 890, 905 (D. Minn.

  2018). The first prong of Section 301 preemption requires Defendants to show that Poet’s state

  law claims vindicate “rights that are equivalent to any of the exclusive rights within the general

  scope of copyright as specified by section 106 in works of authorship that are fixed in a tangible

  medium of expression.” 17 U.S.C. § 301. “The rights provided to a copyright owner by section


  processing time for registration applications is currently seven months.” Fourth Estate Pub. Benefit
  Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881, 892 (2019). Again, this does not even address the
  project material that are not copyrightable.

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  106 have been described as ‘the exclusive rights to do and to authorize (1) the reproduction of

  copyrighted work (to make copies), (2) the preparation of derivative works based on his

  copyrighted work, and (3) the distribution of copies of the copyrighted work to the public by sale

  or other transfer of ownership.” Magical Mile, Inc. v. Benowitz, 510 F. Supp. 2d 1085, 1088 (S.D.

  Fla. 2007) (citation omitted).

         Significantly, it is only if “the act of reproduction, performance, distribution, or display …

  will in itself infringe the state created right, then such right is preempted.” Donald Frederick Evans

  & Associates, Inc. v. Cont’l Homes, Inc., 785 F.2d 897, 914 (11th Cir. 1986). (Emphasis in

  original). In other words, the “reproduction” “performance” “distribution” or “display” must be

  actionable under the pled state law causes of action to justify preemption. On the other hand, state

  law claims are not preempted if they contain an “extra element” that “changes the nature of the

  action. …” Bateman v. Mnemonics, Inc., 79 F.3d 1532, 1549 (11th Cir. 1996) (no Copyright Act

  preemption where “state law trade secret claim is predicated upon the existence of an implied

  confidential relationship” not required to prove copyright infringement).

         Applying this analysis to the case at bar, to state a cause of action for copyright

  infringement, a plaintiff must allege that it owns a valid copyright and that the defendant copied

  original constituent elements thereof. Baby Buddies, Inc. v. Toys R Us, Inc., 611 F.3d 1308, 1315

  (11th Cir. 2010). When compared to the legal elements and factual allegations of Poet’s Complaint,

  however, each and every claim Poet asserts here contains a substantive element not required to

  plead or prove copyright infringement. Put differently, proving just copyright infringement would

  not be sufficient to prove either conversion or unjust enrichment under Florida law.

         Legally, to succeed in a cause of action for conversion, a plaintiff under Florida law, must

  plead and prove “(1) an act of dominion wrongfully asserted; (2) over another's property; and (3)



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  inconsistent with his ownership therein.” Joe Hand Promotions, Inc. v. Creative Entm't, LLC, 978

  F. Supp. 2d 1236, 1241 (M.D. Fla. 2013). One way to establish conversion is to allege the failure

  to return property on demand. Misabec Mercantile, Inc. De Panama v. Donaldson, Lufkin &

  Jenrette ACLI Futures, Inc., 853 F.2d 834, 838 (11th Cir. 1988).

         Factually, in the present case, Poet alleges that “Celebrity was obligated to return all of

  Poet’s property” when the licenses expired but failed to do so. (D.E. 1-2, at 11). Poet further

  alleged, “In addition, Poet expressly requested of Celebrity that it cease all use of the intellectual

  property and thereby ‘return’ it to Poet.” (Id.). Neither the element of wrongfully asserted

  dominion nor the defendant’s failure to return property on demand are elements of a copyright

  infringement claim. As this Court has squarely held, allegations that a defendant failed to return

  property on demand are additional elements to a copyright infringement claim. AutoNation, Inc.

  v. GAINSystems, Inc., 08-61632-CIV, 2009 WL 1941279, at *8 (S.D. Fla. July 7, 2009) (finding

  no preemption for equivalent claim for conversion under Illinois law where Plaintiff alleged failure

  to return software). Clearly, Poet’s conversion cause of action contains additional elements not

  required of a Copyright infringement claim and cannot be preempted.

         The same analysis is true for Poet’s unjust enrichment claims. “A successful claim for

  unjust enrichment requires proof that (1) the plaintiff has conferred a benefit on the defendant; (2)

  the defendant has knowledge of the benefit; (3) the defendant has accepted or retained the benefit

  conferred; and (4) the circumstances are such that it would be inequitable for the defendant to

  retain the benefit without paying fair value for it.” 14th & Heinberg, LLC v. Terhaar & Cronley

  Gen. Contractors, Inc., 43 So. 3d 877, 881 (Fla. 1st DCA 2010). “The most significant requirement

  for a recovery on quasi contract is that the enrichment to the defendant be unjust.” Id. (citations

  omitted).



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         Again, applying the additional element test, a copyright infringement does not require a

  plaintiff to plead or prove conferral of a benefit on the defendant, the defendant’s knowledge of

  that benefit, or acceptance/retention of the benefit. In fact, this Court has expressly addressed this

  precise issue as applied to the preemption question and has held the

         … requirement that a plaintiff convey a benefit to the defendant, and the
         requirement that the defendant accept that benefit, in an unjust enrichment claim,
         are extra elements beyond what a plaintiff needs to prove in a copyright
         infringement claim,” which “render the unjust enrichment claim qualitatively
         different from a copyright infringement claim.”

  Jaggon v. Rebel Rock Entm’t, Inc., 09-61144-CIV, 2010 WL 3468101, at *3 (S.D. Fla. Sept. 1,

  2010) (emphasis in original).

         This Court is not alone on the issue. Montage Group, Found. for Lost Boys v. Alcon

  Entm’t, LLC, 1:15-CV-00509-LMM, 2016 WL 4394486, at *10 (N.D. Ga. Mar. 22, 2016) (finding

  extra element “beyond the ‘reproduction, performance, distribution, or display’ of Plaintiffs’

  copyrightable works” because “Plaintiffs must demonstrate that Defendants’ receipt of benefits or

  services from Plaintiff was unjust”); Hustlers Inc. v. Thomasson, 253 F. Supp. 2d 1285, 1293–94

  (N.D. Ga. 2002) (finding no preemption because “mere violation of the exclusive rights of section

  106 does not constitute unjust enrichment alone”). Thus, each of Poet’s claims intrinsically have

  an “additional element” that defeats preemption.

         Comparing elements from cases and statutes is not the end of the analysis. Indeed, the

  qualitative facts pled in support of a claim can also show an “additional element” that defeats

  preemption. Donald Frederick Evans & Associates, Inc. v. Cont'l Homes, Inc., 785 F.2d 897, 915

  (11th Cir. 1986) (looking to “rights Plaintiffs seek to enforce in the case at bar” rather than

  “hypothetical rights” also protected under FDUTPA); see also Sturdza v. United Arab Emirates,

  281 F.3d 1287, 1304 (D.C. Cir. 2002) (“courts generally examine both the elements of the state



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  law cause of action and the way the plaintiff has actually pled that cause of action”); Graham Ins.

  Group, Inc. v. Statronics, Inc., 10-61904-CIV, 2011 WL 13217020, at *6 (S.D. Fla. Jan. 24, 2011)

  (Altonaga, J.).

         It is well established that a cause of action for unjust enrichment is a “quasi-contract”, a

  “contract implied at law” or an “implied contract”. Commerce P'ship 8098 Ltd. P'ship v. Equity

  Contracting Co., Inc., 695 So. 2d 383, 386 (Fla. 4th DCA 1997), as modified on clarification (June

  4, 1997) (internal citations omitted). In the present case, Poet’s substantive allegations go well

  beyond copyright infringement. The production agreements with Celebrity make this case the

  functional equivalent of a breach of contract suit, a cause of action simply not available to Poet

  because the contracts have expired.

         As this Court has explained, in the Eleventh Circuit “‘a breach of contract claim meets the

  extra element test by virtue of the need to show the existence of a valid contract between the

  parties.’” Chen v. Cayman Arts, Inc., 10-80236-CIV, 2011 WL 3903158, at *6 (S.D. Fla. Sept. 6,

  2011) (quoting Utopia, 596 F.3d at 1326). In the present case, every single claim arises against the

  backdrop of the production and license agreements Poet signed with Celebrity! Consider for

  example Count II (unjust enrichment against Celebrity) alleges:

         Following the expiration of the agreements under which Celebrity was granted a
         limited license to use Poet's intellectual property on Celebrity's vessels, Celebrity
         wrongfully continued to use it in its websites worldwide without a license
         permitting its use and continues to use it to date in certain promotional materials.

  (D.E. 1-2, at para 32). (Emphasis supplied). Similarly, Poet’s unjust enrichment counts against

  Royal and the media defendants all allege:

         Celebrity caused or allowed [the other Defendants] to acquire video recordings
         and/or still photographs of scenes from Poet’s shows which Celebrity alone had a
         limited license to use only during the term of the agreements under which the shows
         had been created, which agreements have all expired.



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  (D.E. 1-2, pgs. 12-23) (Emphasis supplied). In the same way a breach of contract cause of

  action so clearly presents an “additional element”, so too does this quasi contract cause of

  action, so closely tied to and based upon an actual contract.

         With respect to Poet’s unjust enrichment claims, a case involving the movie “Madagascar”

  illustrates this point well. Davis v. DreamWorks Animation SKG, Inc., 08-80506-CIV, 2009 WL

  10700120, at *4 (S.D. Fla. May 14, 2009); vacated in part as to other grounds, 2009 WL 10700121,

  at *2 (S.D. Fla. Sept. 3, 2009). In Davis, the plaintiff argued that DreamWorks used original

  animations and stories that Dreamworks invited him to submit “for the purpose of entering into a

  co-venture and/or commercial business relationship with him.” Id. at *1. The Court found that

  plaintiff’s allegations “amount to a mutual understanding between the parties that compensation

  was to be paid as part of the business relationship.” Id. at 4. Like plaintiff’s present unjust

  enrichment cause of action, “[p]laintiff’s claim is based upon the alleged bargain, not the alleged

  unauthorized reproduction, preparation, distribution, or display of his work,” rendering it

  “qualitatively different from the copyright infringement claim” the plaintiff also alleged. Id. at 3,4.

         Here, Poet similarly alleges that a mutual understanding, actually reduced to writing,

  required that use of project materials would require a license. (D.E. 1-2, at ¶¶ 22-24 (describing

  license agreements)). This is not based on merely the circumstances by which the materials were

  acquired, but an actual contract! Poet’s use of unjust enrichment “is simply acknowledging that

  actions outside the scope of a[n expired] contract cannot be said to breach that contract.” Utopia,

  596 F.3d at 1327. Like Davis, the factor of mutual assent (expressed through expired license

  agreements) is present here, an additional element that defeats preemption.

         Conversion also arises from the additional element of the licenses, which define wrongful

  keeping, requires return of all materials, and require a license for all uses not otherwise permitted.



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   See Lee v. Mt. Ivy Press, L.P., 827 N.E.2d 727, 739 (Mass. App. Ct. 2005) (finding claim for

   conversion of royalties owed under contract not preempted). Thus, Poet’s conversion claim is also

   bound up in rights under the expired licenses. And, like the unjust enrichment claims, a conversion

   claim would not be available if the licenses had not expired. Advanced Surgical Technologies, Inc.

   v. Automated Instruments, Inc., 777 F.2d 1504, 1507 (11th Cir.1985) (applying Florida law).

        The next element not present in a copyright infringement case is the element of reasonable

   expectation of payment, as proven through the expired license contracts. Poet’s unjust enrichment

   claims will be proven at least in part by showing a reasonable expectation of payment for any use

   of its intellectual property. 14th & Heinberg, LLC v. Terhaar & Cronley Gen. Contractors, Inc.,

   43 So. 3d 877, 881 (Fla. 1st DCA 2010) (explaining that “the expectation of compensation may be

   an element of proof in a claim for unjust enrichment”) (citation omitted); see Tooltrend, Inc. v.

   CMT Utensili, SRL, 198 F.3d 802, 806 & n.4 (11th Cir. 1999) (“Notwithstanding that claims for

   quantum meruit and unjust enrichment arise under distinct causes of action, they may at times

   share elements of proof such as an expectation of compensation.”). How will Poet prove this part

   of its case? Through the expired contracts, which create a reasonable expectation that its project

   materials will be not be used unless a licensing fee is paid. Like the above … none of these

   elements are required to establish copyright infringement.

          Finally, the element of damages in this case are based on the licensing fee. Poet “seeks

   damages in the amount of the royalties, license fees, and other fees and charges owing” under the

   licenses. (D.E. 1-2, wherefore clauses at pages 8-23). The right to be paid a fee pursuant to a license

   is not a protected right under Section 106. Levine v. Landy, 832 F. Supp. 2d 176, 188 (N.D.N.Y.

   2011) (claim not preempted where Plaintiff pursued “right to payment for [photographs’] use”

   rather than rights enumerated in 17 U.S.C. § 106). This element further separates Poets’ claims



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   from those based solely on agreements targeting “copying, reproducing, or remarketing” of

   intellectual property. Lipscher v. LRP Publications, Inc., 266 F.3d 1305, 1311–12 (11th Cir. 2001).

            Moreover, with respect to Poet’s conversion claim, Poet makes the functional equivalent

   of a demand for royalties due under the licenses. This takes the dispute out of the scope of

   copyright preemption for conversion. Asunto v. Shoup, 132 F. Supp. 2d 445, 452–53 (E.D. La.

   2000) (no preemption where “plaintiff ‘alleges a conversion of royalties and not the works

   themselves;’” conversion was of a tangible item and “made in derogation of plaintiff’s putative

   contract rights”) (citing Dead Kennedys v. Biafra, 37 F. Supp. 2d 1151, 1154 (N.D. Cal. 1999)).

            In sum, on this point, Poet’s state law claims all present an “additional element” not

   required to prove copyright infringement. The Court should remand this case back to state court

   because the state law rights Poet seeks to enforce require proof of more than just copyright

   infringement.

      II.      This Case Is Outside The Subject Of Copyright As Defined In Section 102
                    Because Poet Alleges Violation Of Its Property Rights In Ideas,
               Likenesses, And Other Intellectual Property Rights Outside The Scope Of
                                        Copyright Protection.

            Preemption is also improper because the licenses grant Poet rights to intellectual property

   that the Copyright Act never could. Section 102 provides copyright protection only for works of

   authorship “fixed in any tangible medium of expression.” 17 U.S.C. § 102(a). “In no case does

   copyright protection for an original work of authorship extend to any idea, procedure, process,

   system, method of operation, concept, principle, or discovery, regardless of the form in which it is

   described, explained, illustrated, or embodied in such work.” 17 U.S.C. § 102(b). Thus, ideas and

   likenesses are not within the subject matter of copyright. E.g., Dunlap v. G&L Holding Group,

   Inc., 381 F.3d 1285, 1294-98 (11th Cir. 2004) (ideas); Taylor v. Trapeze Mgmt., LLC, 0:17-CV-

   62262-KMM, 2018 WL 9708619, at *5 (S.D. Fla. Mar. 26, 2018) (likenesses).


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          Nevertheless, parties “may by contract agree to pay for ideas, even though such ideas could

   not be protected by copyright law. Rights under such an agreement are qualitatively different from

   copyright claims, and their recognition creates no monopoly in the ideas involved.” Garrido v.

   Burger King Corp., 558 So. 2d 79, 83 (Fla. 3d DCA 1990) (quoting Smith v. Weinstein, 578 F.

   Supp. 1297, 1307 (S.D.N.Y. 1984)).

          Here, the licenses define protected “Project Materials” to “concepts” and “ideas”

   themselves, as well as “drafts, copies and other physical embodiments” of the works of authorship,

   “together with all images, likenesses, voices, and other characterizations contained therein.” (D.E.

   1-2, at ¶ 23). Whether project materials are copyrightable or not, Celebrity was to “obtain a license”

   for any use outside the terms of the existing licenses. (Id.). That was and remains the basis for

   Poet’s claim.

          Poet’s     interests   in   the   images   and   recordings    at   issue   here   exceed    a

   “copyright owner’s bundle of rights,” extending to ideas, likenesses, and beyond. Peter Letterese

   and Associates, Inc. v. World Inst. Of Scientology Enterprises, 533 F.3d 1287, 1318 (11th Cir.

   2008). There can be no preemption, and accordingly no federal jurisdiction, because Poet seeks to

   vindicate rights in property interests beyond the subject matter of property rights as defined by

   Section 102 of the Copyright Act.

            III.     The Court Must Remand For Lack Of Subject Matter Jurisdiction
                   Because Section 301 Is Not A Total Preemption Statute, And No Federal
                   Question Is Apparent On The Face Of Poet’s Well-Pleaded Complaint.

          Defendants must face a second, unsettled question of law: whether the Copyright Act also

   grants federal courts removal jurisdiction over preempted claims. Because the Copyright Act lacks

   “the extraordinary preemptive power that is prerequisite for complete preemption,” it “cannot

   serve as a basis for removal.” Badhwa v. Veritec, Inc., 367 F. Supp. 3d 890, 905 (D. Minn. 2018)



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          “Complete preemption is ‘a rare doctrine.’” Ammedie v. Sallie Mae, Inc., 485 Fed. Appx.

   399, 401 (11th Cir. 2012) (citations omitted). The “Supreme Court has applied it to only three

   federal statutes: § 301 of the Labor-Management Relations Act, the Employee Retirement Income

   Security Act of 1974, … and §§ 85 and 86 of the National Bank Act [“NBA”].” Id. (citations

   omitted)). Neither the Supreme Court nor the Eleventh Circuit has decided “whether the Copyright

   Act has such complete preemptive effect” to create removal jurisdiction. Stuart Weitzman, LLC

   v. Microcomputer Res., Inc., 542 F.3d 859, 864 (11th Cir. 2008). However, the Eleventh Circuit

   “displays ‘no enthusiasm’ to extend the doctrine into” new areas of law. Gonzalez v. United States

   Ctr. for SafeSport, 374 F. Supp. 3d 1284, 1291 (S.D. Fla. 2019) (quoting BLAB T.V. of Mobile,

   Inc. v. Comcast Cable Comm’ns, Inc., 182 F.3d 851, 856 (11th Cir. 1999)). It has also cautioned

   more generally that all “removal statutes should be construed narrowly, with doubts resolved

   against removal.” Allen v. Christenberry, 327 F.3d 1290, 1293 (11th Cir. 2003).

          A district court in Minnesota has examined this issue closely in a well-reasoned order

   remanding claims on the ground that Section 301 is not a complete preemption statute. In Badhwa,

   the court was faced with a removed complaint that alleged, inter alia, unjust enrichment. 367 F.

   Supp. 2d at 895-96. The Badhwa court noted that four federal circuits had found that the Copyright

   Act preempted some state-law claims, but found “the reasoning of these decisions unpersuasive.”

   Id. at 901. Unable to discern in the Copyright Act “the extraordinary preemptive power that is

   prerequisite for complete preemption,” the Court held that state law claims “simply cannot serve

   as a basis for removal” under Section 301. Id. at 905.

          As the Badhwa court powerfully sets forth, the courts holding that Section 301 is a

   complete preemption statute have erred. Copyright Act preemption does not create federal




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   jurisdiction where there is no federal question on the face of a well-pleaded complaint. The Court

   must remand, and need not even undertake the two-prong Section 301 analysis.

                                             Conclusion

          For the reasons expressed above, Poet asks the Court to remand this state-law complaint

   back to state court because there is no Copyright Act preemption, much less complete preemption

   that would grant jurisdiction in the absence of a federal question present on the face of Poet’s

   complaint.

                                   CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

   this 10th day of December, 2020, by electronic mail to the following: David M. Levine, Esq.,

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   Cruise One, Inc., Cruise One, Inc. d/b/a Dream Vacations, Tourico Holidays, Inc., d/b/a

   LastMinuteCruises.com, World Travel Holdings d/b/a Cruises.com, World Travel Holdings d/b/a




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